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    EXHIBIT D




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                     REFERENCE TITLE: decertifying Arizona's 2020 electors




State of Arizona
House of Representatives
Fifty-fifth Legislature
Second Regular Session
2022




                             HCR 2033
                               Introduced by
Representatives Finchem: Barton, Biasiucci, Burges, Carter, Chaplik, Diaz,
 Fillmore, Martinez, Nguyen, Parker, Senators Borrelli, Rogers, Townsend


                           A CONCURRENT RESOLUTION

DECERTIFYING AND SETTING ASIDE THE 2020 ARIZONA ELECTORS.


                    (TEXT OF BILL BEGINS ON NEXT PAGE)




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 1         Whereas, a declaration of the results of statewide electoral
 2   contests in the 2020 general election is in dispute with probable cause to
 3   believe that multiple discrepancies exist, both criminal and noncriminal
 4   in nature, and that so many questionable ballots were commingled with
 5   legitimate ballots across the State of Arizona that significant voter
 6   disenfranchisement   has   occurred,  making  the   election  irredeemably
 7   compromised; and
 8         Whereas, the Constitution of the United States provides for
 9   enumerated powers of the federal government; moreover, the Tenth Amendment
10   specifies such enumerated powers as negative rights of the federal
11   government, while protecting vast unenumerated powers for the state
12   governments, stating, "The powers not delegated to the United States by
13   the Constitution, nor prohibited by it to the States, are reserved to the
14   States respectively, or to the people"; and
15         Whereas, Article I, Section 4, Clause 1 of the United States
16   Constitution empowers state legislatures, including the Legislature of the
17   State of Arizona, to prescribe the "Times, Places, and Manner" of
18   conducting elections; and
19         Whereas, the definition of "manner" is at the sole discretion of the
20   Legislature; and
21         Whereas, Article II, Section 1, Clause 2 of the United States
22   Constitution empowers state Legislatures, including the Legislature of the
23   State of Arizona, to direct the manner of appointing electors for
24   President and Vice President of the United States; and
25         Whereas, Article IV, Section 4 of the United States Constitution,
26   known as the "Guarantee Clause," guarantees each state a republican form
27   of government, the foundation of which is self-governance through free and
28   fair elections accurately reflecting the will of the people; and
29         Whereas, the fifteen counties within the State of Arizona conducted
30   an election on November 3, 2020 for federal offices, including selecting
31   electors for President and Vice President of the United States; and
32         Whereas, the Legislature of the State of Arizona has exercised its
33   authority to establish election administration procedures for the state
34   under Arizona Revised Statutes (A.R.S.) title 16, commonly known as the
35   Arizona Election Code; and
36         Whereas, title 3, section 2 of the United States Code further
37   empowers state legislatures to appoint electors if the election failed to
38   produce a clear winner of an election due to tampering; and
39         Whereas, the A.R.S. section 16-121.01, subsection B, paragraph 2
40   specifies conditions to be a qualified elector and disqualifying factors
41   from being such, including "That the registrant has not resided in this
42   state for twenty-nine days next preceding the election or other event for
43   which the registrant's status as properly registered is in question"; and
44         Whereas, the Arizona Election Code requires that all persons voting
45   in an election must be registered to vote twenty-nine days before an
46   election by law, and voter registration was extended by the federal

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 1   judiciary to October 23 in direct conflict with A.R.S. section 16-101,
 2   subsection A, paragraph 3, a violation of the separation of powers; and
 3         Whereas, the Arizona Election Code requires election officials at
 4   polling places and points where ballots are received via United States
 5   Postal Service to authenticate the signatures of in-person voters; and
 6         Whereas, pattern analysis of early voting ballot return envelopes
 7   revealed that of 34,448 such ballot return envelope images there were
 8   2-copy, 3-copy and 4-copy duplicates originating from 17,126 unique voters
 9   while no duplicates were reported in Maricopa County's canvass report; and
10         Whereas, Maricopa County reported 1,455 ballot envelopes having no
11   signatures, yet they were counted contrary to A.R.S. section 16-547,
12   subsection A, which requires the following: "I declare the following under
13   penalty of perjury: I am a registered voter in [fill in the county name]
14   county Arizona, I have not voted and will not vote in this election in any
15   other county or state, I understand that knowingly voting more than once
16   in any election is a class 5 felony and I voted the enclosed ballot and
17   signed this affidavit personally unless noted below"; and
18         Whereas, the requisite audit agent signatures for sixteen Maricopa
19   County early voting ballot transport statements are missing, thus breaking
20   the requisite chain of custody; and
21         Whereas, the count of ballots contained in a transfer box for
22   nineteen Maricopa County early voting ballot transport statements are
23   missing, thus breaking the requisite chain of custody; and
24         Whereas, the requisite chain of custody for twelve Maricopa County
25   early voting ballot transport statements was broken by missing one sealed
26   signature; and
27         Whereas, the requisite chain of custody for fifteen Maricopa County
28   early voting ballot transport statements was broken by missing one
29   received signature; and
30         Whereas, the requisite chain of custody for fifteen Maricopa County
31   early voting ballot transport statements was broken by missing two sealed
32   signatures; and
33         Whereas, election day poll workers and observers testified to
34   observing discrepancies in ballot handling, that ballot chain of custody
35   was breached in case after case, that poll watchers and observers were not
36   allowed to be on site or close enough to observe whether poll workers were
37   following proper identification processes, that poll workers were made to
38   stay seated or in a particular area far away from where voting activity
39   was occurring, that poll workers were reprimanded for asking questions and
40   that poll workers observed bias in voting; and
41         Whereas, some voters were made to vote a provisional ballot while
42   others were instructed to simply retrieve proof of residence, showing
43   improper and biased voting center activity when, in certain circumstances,
44   workers were instructed to call the Elections Department for voter
45   authorization as opposed to following standardized protocols applicable to
46   all voters; and

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 1         Whereas, testimony was given describing the following observations:
 2   trays of mail-in ballots were brought into tabulating rooms to be properly
 3   and independently checked and counted by processing teams of two different
 4   parties whose envelopes had already been pre-opened in the "mailroom";
 5   batches and trays of ballots by the thousands in one 4-5 hour shift were
 6   carried to rooms and offsite where they were not overseen; workers in the
 7   ballot processing room were allowed to retain their personal purses and
 8   backpacks and were observed rummaging through them, presenting opportunity
 9   for ballot tampering; ballots were moved to rooms where there were no
10   independent ballot watchers; signatures on absentee ballots did not match
11   and thousands more in a 4-5 hour period were not verified before being
12   counted or "run through" electronic signature adjudication, which alone
13   could comprise hundreds of thousands of ballots in Maricopa County, in
14   which 1.875 million out of 2 million were cast by mail; there was
15   inadequate and improper oversight in which only one independent ballot
16   observer from two different parties was assigned to observe the ballot
17   processing activities of 90 tables at one time and from a distance; and
18         Whereas, election observers witnessed the following: computers and
19   laptops with internet connection capability in the tabulation centers;
20   over-votes for candidate Trump were not counted even when voter intent was
21   clear; some ballots were changed from candidate Trump to candidate Biden
22   but observers were never provided answers regarding how or when they were
23   to be rectified; 30 of the same signature on 30 different ballots but the
24   Attorney General's Election Fraud Unit was not notified; and
25         Whereas, an election volunteer testified to observing 100,000 votes
26   per day in the adjudication room over three days being improperly
27   processed and a Dominion employee making a copy of an entire voter file
28   and taking it off the METEC with him, thus breaking the requisite chain of
29   custody; and
30         Whereas, evidence was presented that individuals were permitted to
31   vote in violation of A.R.S. section 16-122, which states, "No person shall
32   be permitted to vote unless such person's name appears as a qualified
33   elector in both the general county register and in the precinct register
34   or list of the precinct and election districts or proposed election
35   districts in which such person resides, except as provided in sections
36   16-125, 16-135 and 16-584"; and
37         Whereas, the Arizona Election Code authorizes poll watchers,
38   selected by candidates and political parties, to observe the process of
39   canvassing absentee and mail-in ballots in certain counties in the state,
40   but the watchers were not allowed to meaningfully observe the
41   precanvassing and canvassing activities relating to absentee and mail-in
42   ballots; and
43         Whereas, the Arizona Election Code is silent on contested elections
44   in which proof of fraud sufficient to alter the outcome of an election is
45   predicted and testimony detailing the fraud is taken; and


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 1         Whereas, on November 30, 2020, members of the Legislature of the
 2   State of Arizona sitting as an ad hoc public fact-finding hearing on
 3   election integrity ("the Panel") heard testimony and received evidence
 4   that through extraordinary means the vote count in some counties was
 5   electronically altered to award enough votes to a candidate that did not
 6   actually receive said number of votes in such a volume so as to alter the
 7   outcome of the election; and
 8         Whereas, it is well settled civil rights law under the Equal
 9   Protection Clause of the United States Constitution that to protect
10   individual franchise of sovereignty commonly known as suffrage, the legal
11   doctrine of "one person, one vote" shall apply to all elections; and
12         Whereas, the Arizona Legislature has the duty to ensure that no
13   citizen of this State is disenfranchised, to insist that all elections be
14   conducted according to the law and to satisfy the general public that
15   every legal vote is counted accurately; and
16         Whereas, mathematical modeling evidence was presented to the Panel
17   to explain how the slope of tabulation for the presidential candidates
18   could only be explained by a vote count of 130% of one party's registered
19   voters, revealing the violation of "one person, one vote"; and
20         Whereas, on November 30, 2020, the Panel was shown evidence that,
21   while tabulation of votes using vote tabulation equipment was intended,
22   through extraordinary means fractional vote calculation occurred, awarding
23   more than one vote to one candidate and less than one vote to another; and
24         Whereas, evidence related to the matching of signature records made
25   by voters predating the election to those found on paper ballot envelopes
26   was provided; and
27         Whereas, evidence was received by the Panel that votes for candidate
28   Trump were intermittently, and in some cases immediately, assigned to
29   candidate Biden, and votes for candidate Trump were not tabulated; and
30         Whereas,   the   Arizona   Senate   Forensic   Audit  revealed   key
31   cybersecurity failures of the system necessary for electronic tabulation
32   of votes, including the failure to perform basic operating system patch
33   management and the failure to update antivirus definitions, despite the
34   claim that the system was not configured to access the internet nor
35   capable of accessing the internet, which represents a significant security
36   risk as reported by the Senate's qualified cyber forensics analysis
37   provider; and
38         Whereas, Election Assistance Commission (EAC) Certification Defense
39   is not valid in view of the evidence the 4 ".exe" files were created after
40   Dominion software install, that 45 ".dll" files were modified after the
41   Dominion software install, that 377 ".dll" files were created after the
42   Dominion software install, that 1053 ".dll" files were modified after the
43   Dominion software install and that there was a failure to preserve
44   security logs as reported by the Senate's qualified cyber forensics
45   analysis provider; and


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 1         Whereas, 865 directories and 85,673 election-related files (scanned
 2   ballots, .dvd files, slog.txt files, etc.) were deleted between October
 3   28, 2020 and November 5, 2020, 9,571 directories and 1,064,746
 4   election-related files were deleted between November 1, 2020 and March 16,
 5   2021, 304 directories and 59,387 files containing election data were
 6   deleted from the HiPro scanner 1 on March 3, 2021, 1,016 directories and
 7   196,463 files containing election data were deleted from the HiPro scanner
 8   3 on March 3, 2021, and 981 directories and 191,295 files containing
 9   election data were deleted from the HiPro scanner 4 on March 3, 2021 as
10   reported by the Senate's qualified cyber forensics analysis provider, all
11   showing an illegal destruction of election records under 52 United States
12   Code section 20701; and
13         Whereas, there is clear evidence of intentional remote overwriting
14   of the security logs by the Elections Management System Administrator
15   (EMSADMIN) Account where on February 11, 2021, 462 log entries were
16   overwritten, on March 3, 2021, 37,686 log entries were overwritten and on
17   April 12, 2021, 330 log entries were overwritten as reported by the
18   Senate's qualified cyber forensics analysis provider, all in direct
19   violation of 52 United States Code section 20701; and
20         Whereas, Maricopa County Supervisors admitted on the Congressional
21   Record that general election results were purged from the Election
22   Management System (EMS) as evidenced by a February 1, 2021 SQL Log entry
23   that the RTRAdmin Account purged the general election results from the
24   database, with no corresponding Windows Access Log entry, as reported by
25   the Senate's qualified cyber forensics analysis provider; and
26         Whereas, Maricopa County records reveal a failure to maintain chain
27   of custody and properly document ballot retrieval and transport, which
28   makes it impossible to verify the origin of the ballots counted in the
29   election under scrutiny; and
30         Whereas, Arizona statutes set out specific requirements for secure
31   ballot retrieval and chain of custody procedures of the transfer of voted
32   ballots from drop boxes and vote centers; and
33         Whereas, Maricopa County officials violated Arizona statutes and do
34   not have the required chain of custody for at least 740,000 ballots; and
35         Whereas, the United States EAC advocates for thorough, detailed
36   chain of custody as a standard of care, stating, "keeping a proper chain
37   of custody is more than best practice…chain of custody documents provide
38   evidence that can be used to authenticate election results, corroborate
39   post-election tabulation audits, and demonstrate that election outcomes
40   can be trusted; and
41         Whereas, the Arizona Legislature understood the need for ballot
42   chain of custody and included that requirement in A.R.S. title 16;
43   moreover, the Secretary of State, Governor and Attorney General agreed on
44   the requirements for voted ballots deposited in Early Voting locations in
45   the 2019 Elections Procedure Manual (EPM); and


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 1         Whereas, Maricopa County reported that 923,000 early voter ballots
 2   were accepted at vote centers or drop box locations and that the county
 3   lacks chain of custody documents for at least 740,000 of those early voter
 4   ballots; and
 5         Whereas, of the 1,895 Early Voting Ballot Transport Statements
 6   (EVBTS), eighty percent have defects that violate Arizona statutes; and
 7         Whereas, violations of Arizona statutes include documents with no
 8   record of the number of ballots retrieved and documents that reveal a
 9   failure to assign two couriers for each ballot retrieval; and
10         Whereas, the Maricopa County Recorder, who is responsible for
11   enforcing the chain of custody of all ballots, failed to enforce the
12   counting of ballots and record the number of ballots retrieved from each
13   ballot drop box location. Arizona law was disregarded by the Maricopa
14   County Recorder's Office, specifically the EPM requirement that when the
15   secure ballot container is opened by the County Recorder or officer in
16   charge of elections or designee, the number of ballots inside the
17   container shall be counted and noted on the retrieval form. These
18   violations of Arizona statutes are so egregious and so widespread that
19   they demand referral to the Arizona Attorney General's Office under the
20   Arizona Election Code, which states, "An officer of an election who
21   knowingly fails or refuses to perform any duty required of him under this
22   chapter is guilty of a class 2 misdemeanor unless another classification
23   is specifically prescribed"; and
24         Whereas, 1,514 EVBTS forms out of a total of 1,895 forms have no
25   ballot counts and 48 out of 1,895 unique EVBTS forms have either one
26   retriever signature where two are required or have no signatures at all;
27   and
28         Whereas, 23,344 voters voted via mail-in ballot even though they
29   show in the Melissa Commercial Database as having moved and no one with
30   the same last name living at the address of record for the voter; 2,382
31   voters voted in person even though they show in the Melissa Commercial
32   Database as having moved out of Maricopa County; 2,081 voters moved out of
33   state during the 29 days before the election and were given a full ballot
34   instead of a presidential-only ballot; and 255,326 early votes show in the
35   VM55 that do not have a corresponding EV33 entry, in total showing that
36   the margin of error far exceeds the margin of victory by candidate Biden;
37   and
38         Whereas, there is additional evidence of similar crimes of
39   compliance and manipulation of votes in Pima County and of "ballot
40   harvesting" in violation of A.R.S. section 16-1005 in Yuma County; and
41         Whereas, the State of Arizona's general election results were
42   certified on November 30, 2020 when the Arizona Secretary of State, the
43   Governor of the State and the Attorney General of the State prematurely
44   certified results of the November 3, 2020 election even while a hearing
45   was   underway  revealing   election   discrepancies  and   fraud,  herein


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 1   enumerated, knowing that such action would deprive one or both candidates
 2   due process in the ongoing litigation regarding presidential electors.
 3   Therefore
 4   Be it resolved by the House of Representatives of the State of Arizona,
 5         the Senate concurring:
 6         1. That the Members of the Legislature recognize that lawful voters
 7   expect that election officials and state legislators will do their duty to
 8   ensure that lawful votes of the people as cast are honored and not diluted
 9   or debased by acts classified by the Arizona Legislature as criminal acts.
10         2. That, in the words of constitutional expert Alexander Hamilton
11   in Federalist 68, "Nothing was more to be desired than that every
12   practicable obstacle should be opposed to cabal, intrigue, and corruption.
13   These most deadly adversaries of republican government might naturally
14   have been expected to make their approaches from more than one quarter,
15   but chiefly from the desire in foreign powers to gain an improper
16   ascendant in our councils. How could they better gratify this, than by
17   raising a creature of their own to the chief magistracy of the Union? But
18   the convention have guarded against all danger of this sort, with the most
19   provident and judicious attention."
20         3. That when a state legislature exercises this plenary power to
21   determine the manner in which electors are chosen, that power is governed
22   solely by the federal Constitution, the jurisprudence memorialized in
23   Leser v. Garnett, 258 U.S. 130, 137 (1922) (function of state legislature
24   in carrying out a federal function derived from the United States
25   Constitution "transcends any limitations sought to be imposed by the
26   people of a State") and that no state constitution, state law or state
27   court can alter or constrain that grant of power.
28         4. That the appointment of these electors is thus placed absolutely
29   and wholly with the legislatures of the several states, that this power is
30   conferred on the legislatures of the states by the Constitution of the
31   United States and cannot be taken from them or modified by their state
32   constitutions; and that whatever provisions may be made by statute, or by
33   the state constitution, to choose electors by the people, there is no
34   doubt of the right of the legislature to resume the power at any time, for
35   it can neither be taken away nor abdicated, the jurisprudence memorialized
36   in McPherson v. Blacker, 146 U.S. 1, 34–35 (1892).
37         5. That the legal doctrine Ex Dolo Malo Non Oritur Actio, a right
38   of action cannot arise out of fraud and that "No court will lend its aid
39   to a man who founds his cause of action upon an immoral or an illegal act.
40   The maxim lies at the foundation of a general rule of public policy, the
41   rule that the courts will not sustain an action which arises out of the
42   moral turpitude of the plaintiff or out of his violation of a general law
43   enacted to carry into effect the public policy of the state or nation."
44   Marshall v. Lovell, 19 F.2d 751, 755 (8th Cir. Minn. 1927).
45         6. That substantial irregularities and violations of A.R.S. title
46   16 elections law are specifically classified as criminal behaviors.

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 1         7. That significant irregularities associated with the illegal
 2   practice commonly known as "ballot harvesting," a class 6 felony criminal
 3   offense under Arizona law, affected mail-in balloting, precanvassing and
 4   canvassing and occurred during the November 3, 2020 election.
 5         8. That there was infringement on the Legislature of the State of
 6   Arizona's authority pursuant to the United States Constitution under
 7   legislative plenary power and the "Supremacy Clause" to regulate
 8   elections.
 9         9. That the selection of presidential electors and other statewide
10   electoral contest results in this State involving federal offices is in
11   dispute.
12         10. That, based on the clear and convincing nature of the evidence
13   cited in this Resolution, there remains an irreconcilable controversy that
14   cannot be resolved with the declaration of a clear winner, and as such is
15   irredeemably compromised.
16         11. That the Office of the President of the United States is in
17   fact the Chief Magistrate of these United States, charged with the duty of
18   care under the Guarantee Clause of the Constitution as such to maintain
19   impartial and fair elections.
20         12. That Article II, Section 1, Clause 2 of the United States
21   Constitution provides, in relevant part, that "Each State shall appoint,
22   in such Manner as the Legislature thereof may direct, a Number of
23   Electors, equal to the whole Number of Senators and Representatives to
24   which the State may be entitled in the Congress." (Emphasis added.) The
25   Supreme Court has described the constitutional authority of the state
26   legislatures to determine the manner of choosing electors as "plenary."
27   See McPherson v. Blacker, 146 U.S. 1, 35 (1892); see also Bush v. Gore,
28   531 U.S. 98, 104 (2000).
29         13. That the Supreme Court of the United States has even noted
30   that, "whatever provisions may be made by statute, or by the state
31   constitution, to choose electors by the people, there is no doubt of the
32   right of the legislature to resume the power at any time." McPherson, 146
33   U.S. at 35 (emphasis added, quoting with approval Sen. R., 1st Sess. 43rd
34   Cong. No. 395); see also Bush v. Gore, 531 U.S. at 104 ("The State, of
35   course, after granting the franchise in the special context of Article II,
36   can take back the power to appoint electors").
37         14. That the Members of the Legislature hereby notify the President
38   of the United States Senate, the Speaker of the United States House of
39   Representatives and the Members of Congress from the State of Arizona that
40   it is the justifiable position of the Arizona State Legislature that we
41   set aside the results of the Maricopa, Pima and Yuma County elections as
42   irredeemably compromised and reclaim the 2020 Presidential Electors due to
43   the irredeemably flawed nature of these elections that prevent the
44   declaration of a clear winner of said presidential electors.



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